                               UNITED STATES DISTRICT COURT
                                 DISTRICT COURT OF KANSAS                    [r~lL~[Q)
                                                                                   JUN 15 2022
In the Re of Care and Treatment of                      )                      C~JJ;;r,ict Court
Mr. David W. Thayer and                                                     By:~       Deputy Clerk
Mr. Steven E. Newsome                                   )

                                      Plaintiffs            )
vs.                                                                Case No: 22-3086- SAC
                                                            )              Amended
                                                                            civil rights complaint
Mrs. Haleigh Bennett                                        )               42-U.S.C.-1983
acting Program Director of SPTP
                                                        )

Mr. Jeff Brown                                          )
Chaplin of LSH/SPTP
                                                        )
                                     Defendents
____________                                            )




                  CIVIL RIGHTS COMPLAINT PURSUANT TO 42 U.S.C. 1983



         COMES NOW, Petitioner David Thayer, Pro-se and petitions this comt for final and injunctive
relief, punitive damages, and compensatory damages on the following grounds and for the following
reasons: Petitioner is a resident of the State of Kansas who is civilly committed to Larned State
Hospital-Sexual Predator Treatment Program (herein referred to as SPTP) under the Kansas Sexually
Violent Predator Act (59-29a01 et seq) and herein referred to as the act.




Under the Act, Conditions of confinement are to meet the Constitution and are to be constitutional (see
KSA 59-29a09) "The involuntary detention or commitment of persons under this act SHALL conform
to constitutional requirements for care and treatment"




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 All of the above named defendants are directly responsible for ensuring that the petitioner's statutory
 and constitutional rights are protected and as such are responsible for taking proper action(s) when
such rights are violated or denied to petitioner.

 Petitioner brings this action on behalf of and for himself as well as all residents in SPTP who believe in
and practice the Native American path who are members of the Gray and Red Wolf Call-Out and to
. include the Independents, here in SPTP as any decision for or against petitioner will ultimately affect
these residents as well.

{1.)     Petitioner states that his constitutional and statutory rights to practice his religion are being and
have been violated and denied to him and his fellow Native residents under and contrary to
Kan.Stat.Ann. 59-29a22(b) (8) and the First Amendment of the United States Constitution and RLUIPA.
Petitioner further asserts that there has been a repeated and continuing deliberate indifference by the
named defendants to religion and religious rights, beliefs and practices.

(a)      Petitioner further asserts that the Secretary of KDADS (defendant Laura Howard) refuses to take
any actions against SPTP officials, namely the defendants listed in this suit even though defendant Laura
Howard is responsible for ensuring our rights are not violated pursuant to Kan. Stat. Ann. 59-29a22.

(b)      Kan. Stat. Ann. 59-29a22(bl (8) states in pertinent part: "Sexually Violent Predators; rights and
Rules of Conduct; definitions ... {b) Each person shall have the following statutory rights ... {8) To individual
religious worship within the facility if the person desires such an opportunity, as long as it complies with
applicable laws and facility rules and policies ... "

(c)      LSH-SPTP Policy P9-06 lists the religious rights and guidelines for persons in LSH/SPTP (See
enclosed copy for record). Nowhere in this does it give LSH/SPTP staff the authority to restrict or deny a
person's religious freedoms and rights in whole or in part.

(d)      Kan. Stat. Ann. 59-29a22 lists specific rights that can be restricted or denied for cause and states
the procedures that must be followed when such rights are denied or restricted. Religion and religious
freedoms is not one of those rights that can be denied or restricted per this statute. Therefore, the
defendants have no legal authority to completely or even partially deny or restrict petitioner's right to
pray according to his sincerely held beliefs as they have done and continue to do.(See Kan. Stat. Ann. 59-
29a22(C) (1) "A person's rights under subsections (b) (15) to (b) (22) may be denied for cause by the
superintendent of the facility or the superintendent's designee, or when medically or therapeutically
contraindicated as documented by the person's physician, licensed psychologist or licensed master's
level psychologist in the person's treatment record ... ". Petitioner hereby asks this court to take note of
the fact that, per this state law, only the rights listed from (b)(15) to (b)(22) can be restricted or denied
and that would conclude that and imply that (b)(8) is not included and cannot be denied or restricted.

(e)      In March 2020 Defendants, Haleigh Bennett, Lisea Dipman, and Linda Kidd, implemented an
unpublished "memo" that due to COVID-19 all call-out activities, including religious meals were
suspended. These defendants did not publically publish the first official "memo" available to SPTP
residents regarding this decision until April 1, 2020. Since then these defendants have posted multiple


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memos easing and the tightening these restrictions. However, each time until late 2021, the right to
pray according to my religious beliefs dictates through use of a Pipe and tobacco was continually denied.
Defendants made no effort to accommodate this religious tenet until after petitioner initially filed this
complaint later in 2020 even though they were given multiple ways to safely do so in the least restrictive
means. (See copies of all posted memos regarding call-outs and COVID-19).

(f)         On June 27, 2020 Petitioner filed a grievance after being denied his request to be allowed to go
out and say a prayer(which would include Smudging and use of the Pipe and tobacco) This would have
been no different than staff taking petitioner to the same area where he was being given his 3 Fresh Air
breaks a day by himself. Since petitioner would have been by himself he therefore would have been
"socially distanced". However, defendants, Haleigh Bennett and Jeff Brown denied his request. When
petitioner then asked if he could just Smudge alone this was also denied.

(g)         On May 25, 2020, several months after SPTP shut everything down because of COVID-19,
Petitioner submitted a request to Treatment Team asking for authorization to purchase a Personal Pipe
so petitioner could make his prayers in accordance with his fundamental and sincerely held religious
beliefs without risking spreading or catching COVID-19 as noon else would or could use such Pipe.
Defendant Jeff Brown, who is charged with providing for and protecting residents religious rights,
replied to this request over two months later on July 29, 2020 denying this accommodation request
effectively continuing to completely deny petitioner his right to pray according to the dictates of his
beliefs.

(h)         On May 26th after former President Trump announced that religion was considered an
"Essential Business" petitioner again submitted a request to obtain a Personal Prayer Pipe. Defendant
Jeff Brown responded on July 29, 2020 again denying this accommodation request.

Petitioner believes in and practices the ways of the Native American beliefs. Petitioner is an
Independent Call-out here in SPTP(one of three such call-outs). Gray Wolf is intertribal but mostly
follows the Cherokee and Lakota ways. The use of the Sacred Pipe (Chanupa) and tobacco are a very
fundamental and essential aspect of his religion and its belief system. It is believed by petitioner(and
most Natives generally) that it is the smoke from the Sacred tobacco that carries his prayers and energy
to Grandfather and his ancestors and this is how he is to pray.

On or about March 18, 2020 Defendants Haliegh Bennett posted a notice that due to COVID-19 all
religious call-outs and religious activities were canceled until further notice. Effectively cancelling
religion.

Petitioner then again asked defendants Jeff Brown and Haleigh Bennett for authorization "during COVID
pandemic only" to be allowed to purchase a Personal Prayer Pipe to be held and kept in the Chaplain's
office (defendant Jeff Brown) when not in use. These defendants continued to deny these requests
effectively denying SPTP Native residents the right and ability to pray. These requests were continuously
denied even though this can be done safely and with social distancing. Meanwhile Smudging was
allowed which requires residents to be closer than they need to be to Pray with the Chanupa (Pipe).



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Thus for over a full year all defendants refused to allow petitioner to Pray. These denials continued in
spite of efforts to compromise while adhering to social distancing and safety precautions for CIVID.

The position of the defendants was and has been, that they are allowing "liquid smudge"(a liquid form
of sage in a spray bottle) and that allowing this fulfills petitioner's religious needs and tenets.
Defendants refuse to acknowledge that while daily Smudge is also an essential aspect of petitioner's
beliefs, smudging is a cleansing process in which one cleans himself of negative energies and spirits in
order to be able to properly present himself and his prayers to the Creator, ebter Sacred land and the
like, but this is not in itself personal prayer or praying.

(2.)    In January 2021 Defendants Bennett and Dipman posted a memo update on call-out activities as
things started to open back up. In fine print at the bottom of this memo was the following
notation:"Daily Smudge will be allowed during yard/fresh air breaks." However, over the next many
months until sometime in July 2021 in spite of petitioner's many attempts to do so there was no daily
smudge. This is because defendant Tonya Taylor placed the responsibility on Activity Therapy staff who
would not and could not get the lighter from LSH Security so we could smudge. Petitioner filed multiple
grievances between January 21, 2021 and July 2021 on this lack of smudge and each time petitioner
received responses such as "I am working on this"; "I believe I have identified the problem"; and "I have
notified CTS staff'. In spite of these responses there was still no smudging allowed between January 21,
2021 and July 2021.

                 (a)      Between January 2021 and July 2021 petitioner met with defendant Taylor and
defendant Brown about this several times. And still it took defendants and SPTP officials 7 (seven)
months after posting notice that daily smudge would resume before petitioner was actually allowed to
smudge regularly. This shows an indifference to petitioner's religious needs and rights. And is a failure to
meet petitioner's care and treatment needs as all of the defendants listed are responsible for and
obligated to provide for all of petitioner's needs including spiritually. During this entire time
period(March 2020 to July 2021 the Defendants continued to also completely deny petitioner's ability to
Pray as his beliefs dictate he is to Pray-through the Pipe and tobacco).

                 (b) Defendants had and continue to use COVID-19 to simply outright cancel religion
whenever they see fit regardless of any proposed or possible "Least Restrictive Measures" available. In
particular, in May 2020 Petitioner's Uncle who was Kickapoo passed away. Taking COVID into
consideration Petitioner asked for 15 to 20 minutes to be allowed to say a Prayer for his friend Paul
Bluemenshine and Bobby Henderson to help their family cross over alone, without any peers knowing
that a proper Passing Ceremony could not be done. This accommodation would have followed all of the
guidelines the Government was citing(Social Distancing etc) as he would have been alone. Defendants
already took petitioner during this time period alone to the same "concrete court yard" for 3 Fresh Air
Breaks a day for 15 minutes at a time. Defendants Haleigh Bennett, Unit Leader Erica Brown, and Jeff
Brown denied this simple accommodation request. Instead Defendant Jeff Brown(the Chaplain) simply
offered to "come pray with you" when defendant Brown is not Native and would not allow proper
prayer with Pipe and tobacco.



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         (3.)

Even after defendants created the policy that allowed for purchase and use of Personal Pipes as a direct
result of COVID-19 concerns, defendants, Haleigh Bennett, Jeff Brown and Lisea Dipman continue to
cancel, deny and restrict petitioner's ability to practice the fundamental tenets of his religious beliefs.

                 (a)      In or about June 2021 SPTP began allowing residents to buy and use Personal
Pipes. However, unlike before COVID-19 shut things down, now defendants began cancelling and, or
severely restricting religious call-outs.

                          (1)      Before COVID-19 the Native American call-outs were given two and one
half hours a week for Pipe and Drum ceremonies, and 30 minutes a day to smudge; One weekend day
per month these call-outs were given from 8:00am to 2:30pm to have and participate in the Sweat
ceremony. These religious activities occurred even at the same time other residents had visits with their
visitors in the "A Mod" right next to the religious grounds.

                          (2)      After SPTP started allowing religion again this time was restricted at
first to just 30-minutes once a week to Smudge. This later became 1-hour a week just to Smudge(no
Pipe). Later SPTP allowed the use of Pipes and tobacco but still only one hour per week.

        (b) However, call-outs were canceled more than they were allowed.

        (c) Then in an attempt to "accommodate all residents" if visits and call-outs "conflicted" with
one another we were limited to just 30-minutes of worship those weekends. Somehow COVID has made
it where-according to defendants-allowing us two and one half hours and at the same time as
visits(even though there is no contact with the visitors by religious participants whatsoever) unfeasible
to allow. Defendant Taylor has told petitioner that the "COVID Committee" will not allow more than an
hour per week but none of the defendants will disclose all the parties on this alleged committee.

        (4.)              Further unjustifiable an irrational restrictions on religion resumed as follows:

                 (a) On June 30, 2021 a resident escaped from SPTP and residents were placed on lock
                                                                                                             rd
down until late in the day on July 1, 2021. However, SPTP allowed in person visits to resume on July 3
                                                                                        th
and July 4 th 2021, allowed resident VTP Kitchen workers to go back to work on July 4 2021, and allowed
Tier Two residents to resume outings as normal into the community. Defendants Tonya Taylor, Haleigh
Bennett and Lesia Dipman further allowed residents to be transported from another building on
Tuesday July 6th 2021 to use the Dillon yard to play softball. And classes and groups resumed as normal
         th
on July 6 2021 as well.




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 (b)               While defendants allowed all of these activities to resume as normal right after the
                                  rd     th                  th
 escape, the weekends of July 3 and 4 2021 and July 10 and 11th 2021 defendant Haleigh Bennett
 would not allow residents to have call-outs and worship. When Petitioner submitted a request to
 defendant Bennett asking why this happened defendant Kidd responded "To allow for the safety,
security and operational needs of the facility."

         (1)       In other words it was not unsafe or unsecure to allow everything else to go back to
 normal but allowing residents to worship would hinder and threaten the safety, security and operational
needs of the facility-even though the resident who escaped was not a part of any call-out and did not
· use call-out as a way or means of his escape. There is no rational connection or even a slight nexus to
call-outs and the escape.

                                              th                  th
(c)                The weekend of August 28 and August 29 2021 defendant Haleigh Bennett canceled
all religious call-outs that weekend so that a few residents could have a two-hour long in person, socially
distanced visit.

         (1)       When petitioner asked how visits are more protected than his religious rights and why
call-outs were canceled defendant Bennett again simply replied with "Operation needs of the facility".

(NOTE: These particular cancellations are based on the fact that SPTP did not and does not have enough
staff in order to allow both visitation and religion to occur. So petitioner's spiritual needs are set aside
by defendants and denied and violated by defendants because of a lack of proper staffing.)

(5.)               The Sweat Lodge Ceremony is also an essential and fundamental aspect of Petitioner's
religious beliefs and tenets. The Sweat ceremony is Sacred also like the Pipe ceremony. The Sweat is a
spiritual cleansing process that is also physical as well. It requires commitment, fasting, prayer and
more. Defendants have denied all such Sweat ceremonies since March of 2020 due to COVID-19.

         (a) Before COVID, Petitioner as part of the Gray Wolf Call-out, participated in the Sweat every
month it was held. Petitioner asserts that:

                   (1) These ceremonies occurred every third Saturday of the month from 8:00am to
2:30pm.;

                   (2) These ceremonies required certain tools and materials that in over 24 years that
SPTP has existed have never been misused or used to hurt someone in any way. These materials are and
were:

         (a) 1-Heavy Duty Tarp;

         (b) At least 2-Solid black Tarps (because the Lodge is dark like the Mother's womb and when
exiting the Lodge we are new again).;

         (c) A Pitch Fork rake which had a solid metal bar welded over the tips so they were not sharp at
all. This was used to carry the hot rocks into the Lodge.;


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        (d) Shovel to tend the fire and carry/transport rock.;

        (e) Fire pit and a fire(to heat the rock).;

        (f) Nearby water hose. To put out the fire as well as to douse ourselves afterward and to stay
cool in the hotter months of the year.

                 Defendant Bennett confiscated all of the tools listed above once COVID-19 shut things
down claiming that all of a sudden these items were now a safety and security risk even though they
never had been in over two decades. Not even once. Defendant Taylor now is telling petitioner and his
like-minded peers that they may never be allowed to have this cleansing ceremony again and that if
they are allowed to have Sweats the Lodge can no longer be covered with a black tarp but that it must
be clear. This completely erodes the significance of the reason why such a Lodge is dark.

(6.)             Even after allowing residents, including petitioner, to purchase and to use their own
Personal Pipe once per week, defendants still take advantage of any reason to deny the use thereof.

        (a) While this may be the first example it is none the less important in showing the overall
indifference of petitioner's religious rights and beliefs:

(1) On September 9, 2021 the unit petitioner resides on(Dillon East 1) was placed under "quarantine"
after one of the staff who had worked this unit tested positive for COVID. As a result defendant Bennett
                                                                  th        th
canceled call-out activities the weekend of September 11 and 12 2021 for the entire unit except for
Smudging-No Pipe. When Petitioner and other members attempted to question defendant Bennett
on this she would not speak with petitioner or any resident about it.

        (a) There is no more or less separation between residents for and during Smudge than if the use
of the Pipe would have been allowed. The only differences would be that there would be the Pipes and
that only the one each Pipe belongs to would use it. Thus the denial of any accommodation by request
of petitioner of just allotting 30 minutes(as Haleigh Bennett had done under other circumstances) when
staff as well as the chaplain(defendant Jeff Brown) were willing to come in to help, was done with
complete and utter contempt of and indifference to petitioner's rights, beliefs and spiritual well being.

(7)              Defendants Jack Bowman, Haleigh Bennett and Lesia Dipman simply cite that SPTP
policy allows call-outs to be cancelled for a plethora of reasons to include safety, security and
operational needs of the facility. However, everyone of these defendants has and continues to refuse to
explain how any of the accommodation requests by petitioner and his peers over the last 18-months
would be or actually pose a threat to the safety, security and operational needs of the facility.

        (1) Each of these defendants refuse to first even so much as consider Less Restrictive Measures
when conflicts do arise, instead the only action they take is cancelations.

                                                             th        th
                 (a) For example(of many): On August 28 and 29 2021 defendant Bennett cancelled
call-out activities in favor of conducting visits because there were not enough staff that weekend to do
both. Petitioner asked defendant Bennett to schedule a day later that week to make up for the missed


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day of worship. Defendant Bennett's definitive answer was 11 No." I ask this court "Why not?" And the
answer is plain: SPTP officials relish any excuse or reason no matter how trivial to cancel religious
worship and acts. The SPTP policy even eludes to the fact that religion can be canceled for any reason by
a number of people.

                 Therefore, Petitioner prays that the court finds the defendants' actions do in fact
violate petitioner's religious rights guaranteed to him by State and constitutional laws as well as those of
 his peers as the are effect exactly the same as he is. In so doing, Petitioner prays that this court order
these defendants to stop acting in ways that violate petitioner's Statutory rights under Kan.Sta.Ann. 59-
. 29a22(b)(8) and the First and Fourteenth Amendments of the United States Constitution. Such actions
may be acceptable in a prison and penal setting but these acts of indifference to these rights are not and
can not be found to be acceptable in the civil and treatment setting for which petitioner and his peers
are involuntarily civilly confined. (Hendricks, Crane, Woe v. Cuomo, Bell v. Wolfish et al.).

                 Therefore petitioner also prays that in so finding this court to order the following in
relief and order that any further violations based on this courts decision in this case shall result in a
finding of being in contempt of court and warning that the court can and will impose all appropriate
punitive remedies against any named defendant found to violate this courts lawful order. Petitioner asks
this because for too long SPTP officials have been allowed to ignore orders of courts with absolute
impunity.

                       Petitioner therefore Prays this court grant the following in relief:

Order an injunction from defendants cancelling any more religious call-outs of weekly Pipe and Drum
ceremonies "just because policy says they can" s they have done in the past and continue to do in the
present;

Order the defendants by and through their representative agency to pay petitioner the following:

$75,000.00 in Punitive damages; and

$75,000.00 in compensatory damages

 I, David Wayne Thayer Petitioner, hereby certify under penalty of perjury that the above is true and
correct to my best of my layman's legal knowledge and understanding of law SO HELP ME GOD.


 J)G:J ~
David W: Thayer (Pro Se
1301 KS Hwy 264
Larned, Kansas 67550
(620} 285-4660 Extension 3




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I, David Wayne Thayer, further hereby certify that I placed a true and correct copy of this Petition in the
United States Mail Postage Paid or by institutional mail to the persons listed below on this    ~..5
day of         Af21'<) l                  /     a(2~              '

Clerk Of The U.S. district Court                          KDADS
401 N. Market                                             C/O Legal Department
Wichita, Kansas 67203                                     503 S. Kansas Ave.
                                                          Topeka, Kansas 66603
Secretary Laura Howard
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Topeka, Kansas 66603                                      Larned, Kansas67550

Keri Applequist                                           Haleigh Bennett
1301 KS Hwy 264                                           1301 K264 Hwy
Larned, Kansas 67550                                      Larned, Kansas 67550

Lesia Dipman                                              Chaplain Jeff Brown
1301 KS Hwy 264                                           1301 KS Hwy 264
Larned, Kansas 6750                                       Larned, Kansas 67550

Jack Bowman
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